                        IN THE SUPREME COURT OF THE STATE OF NEVADA


                 MARK N. GARLAND,
                 Appellant,
                                                                       No. 66232         FILEp
                 vs.                                                                     MAY 1 2 2616
                 JONATHAN S. GARLAND,                                                     CIE      DEMAN
                 Respondent.                                                        CL

                 MARK N. GARLAND,                                      No. 66687 ,".M.          T LEE

                 Appellant,
                 vs.
                 JONATHAN S. GARLAND,
                 Respondent.

                      ORDER VACATING AND REMANDING (DOCKET NO. 66232)
                              AND AFFIRMING (DOCKET NO. 66687)
                             These are consolidated appeals from district court orders
                 denying an NRCP 60(b) motion to set aside a default judgment (Docket
                 No. 66232) and denying sanctions (Docket No. 66687). Eighth Judicial
                 District Court, Clark County; Douglas Smith, Judge.
                             Having considered the parties' arguments and the record, we
                 agree with appellant that the district court abused its discretion in
                 denying appellant's motion for NRCP 60(b) relief.      Minton v. Roliff, 86
                 Nev. 478, 481, 471 P.2d 209, 210 (1970) (reviewing an order resolving a
                 motion to set aside a default judgment for an abuse of discretion).
                 Although the district court found a lack of good faith based on appellant's
                 failure to resubmit his motion to dismiss the complaint with a proper form
                 of payment, failure to serve a copy of his motion to dismiss on respondent,
                 and his delay in moving to set aside the default judgment until after he
                 learned that his bank account had been garnished, the court did not
                 analyze other relevant factors, including whether appellant lacked intent
                 to delay the proceedings and knowledge of procedural requirements, and

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                  the general policy of deciding cases on the merits. See Kahn v. Orme, 108
                  Nev. 510, 513, 835 P.2d 790, 792-93 (1992). Additionally, the district court
                  determined that appellant did not tender a meritorious defense to
                  respondent's claims for relief, but the meritorious defense requirement has
                  been abolished, see Epstein v. Epstein, 113 Nev. 1401, 1405, 950 P.2d 771,
                  773 (1997), and thus the district court's finding in that regard did not
                  warrant denying the motion to set aside.
                              Accordingly, we vacate the order denying NRCP 60(b) relief
                  and we remand this matter to the district court for it to consider the other
                  relevant factors in deciding appellant's motion.' As for appellant's appeal


                          'In reaching this decision, we were not persuaded by appellant's
                  argument that the default judgment is void for failure to comply with
                  NRCP 55(b)(2). The record supports the court's findings that appellant
                  stopped communicating with respondent many months before the
                  complaint was filed and appellant did not resubmit to the court his motion
                  to dismiss with the filing fee or serve a copy of the motion on respondent to
                  give respondent clear indication of appellant's intent to contest the claim.
                  see Lindblom v. Prime Hospitality Corp., 120 Nev. 372, 376, 90 P.3d 1283,
                  1285 (2004) (concluding that defendants were entitled to NRCP 55(b)(2)
                  notice where the parties had extensive settlement interactions before the
                  initiation of formal legal proceedings and those "pre-suit interactions
                  evince[d] a clear intent to appear and defend"); 10A Charles Alan Wright,
                  et al., Federal Practice and Procedure § 2686 (3d ed. 1998). Regardless, on
                  February 28, respondent mailed to appellant a copy of a request for a
                  March 11 default judgment hearing, which would satisfy the notice
                  requirement here. 10A Wright, supra, § 2687 ("Notice of an application for
                  the entry of a default judgment need not be in any particular form. The
                  major consideration is that the party is made aware that a default
                  judgment may be entered against him.").

                        Appellant argues for the first time on appeal that the clerk violated
                  his or her duties by not filing appellant's motion to dismiss and instead
                  returning it with instruction to pay the filing fee. Although appellant
                  suggests that the argument may be considered because it implicates his
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                    in Docket No. 66687 from the post-judgment order denying sanctions, we
                    perceive no error in that decision and thus we affirm. 2
                                It is so ORDERED. 3


                                                                      /1,,,tteetitt,           J.
                                                                 Hardesty


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                                                                 Saitta
                                                                                           ,   J.




                                                                                           , J.




                    cc: Hon. Douglas Smith, District Judge
                         Carolyn Worrell, Settlement Judge
                         Marquis Aurbach Coffing
                         Cram Valdez &amp; Brigman &amp; Nelson
                         Eighth District Court Clerk



                    ...continued
                    constitutional right to court access, in district court he argued only that
                    his own neglect was excusable and that the judgment should be set aside
                    for that reason. Thus, we did not consider the argument in reaching a
                    decision on appeal. Old Aztec Mine, Inc. v. Brown, 97 Nev. 49, 52, 623
                    P.2d 981, 983 (1981).

                          2The portion of the order denying appellant's request for the return
                    of garnished funds is not appealable, see NRAP 3A(b), and we are not
                    persuaded by appellant's argument that the decision is appealable as an
                    order refusing to dissolve a prejudgment writ of attachment or as an order
                    granting or denying injunctive relief.

                          3Appellant's   request that this court "instruct that this case be
                    assigned to a different judge" is denied.

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